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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                                             )       CRIMINAL ACTION FILE
v.                                           )
                                             )       NUMBER 1:10-cr-521-04-TCB
MARK TOMLINSON,                              )
                                             )
              Defendant.                     )

                                       ORDER

       This case is before the Court is the magistrate judge’s report and

recommendation [875]. No objections to the R&R have been filed.

       A district judge has a duty to conduct a “careful and complete” review

of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d 732, 732

(11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404, 408 (5th

Cir. 1982) (en banc)) (internal quotation mark omitted).1 This review may

take different forms, however, depending on whether there are objections

       1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit decisions

issued before October 1, 1981. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th
Cir. 1981) (en banc). Additionally, all decisions issued after that date “by a non-unit
panel of the Former Fifth, the full en banc court of the Former Fifth, or Unit B panel of
the Former Fifth Circuit” are binding precedent absent a contrary en banc Eleventh
Circuit decision. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir. 1982); see also
United States v. Schultz, 565 F.3d 1353, 1361 n.4 (11th Cir. 2009) (discussing the
continuing validity of Nettles).
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to the R&R. The district judge must “make a de novo determination of

those portions of the [R&R] to which objection is made.”

28 U.S.C. § 636(b)(1)(C). In contrast, those portions of the R&R to which

no objection is made need only be reviewed for clear error. Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006).2

      After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s findings

and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681 F.2d at

732. The district judge may also receive further evidence or recommit the

matter to the magistrate judge with instructions. 28 U.S.C. § 636(b)(1)(C).

      The Court has conducted a careful and complete review of the R&R

and finds no clear error in its factual or legal conclusions. Therefore, the

Court ADOPTS AS ITS ORDER the R&R [875]. Defendant Mark

Tomlinson’s adoptive motion to suppress [712] is DENIED.


      2 Macort dealt only with the standard of review to be applied to a magistrate’s

factual findings, but the Supreme Court has held that there is no reason for the district
court to apply a different standard to a magistrate’s legal conclusions. Thomas v. Arn,
474 U.S. 140, 150 (1985). Thus, district courts in this circuit have routinely applied a
clear-error standard to both. See Tauber v. Barnhart, 438 F. Supp. 2d 1366, 1373-74
(N.D. Ga. 2006) (collecting cases). This is to be contrasted with the standard of review
on appeal, which distinguishes between the two. See Monroe v. Thigpen, 932 F.2d 1437,
1440 (11th Cir. 1991) (holding that when a magistrate’s findings of fact are adopted by
the district court without objection, they are reviewed on appeal under a plain-error
standard, but questions of law remain subject to de novo review).

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IT IS SO ORDERED this 22nd day of May, 2014.




                              Timothy C. Batten, Sr.
                              United States District Judge




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